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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION



In Re:

AUBREY BRUCE WRING and                             Case No. 10-21899-pjd
VIRGINIA A. WRING,                                 Chapter 11

               Debtors.


CHAPTER 11 TRUSTEE’S MOTION TO DETERMINE LOAN BALANCES OWED BY
      REORGANIZED DEBTOR TO SETERUS, INC., AS SERVICER FOR
       FEDERAL NATIONAL HOME MORTGAGE ASSOCIATION, AS
                ASSIGNEE OF JPMORGAN CHASE BANK



         Michael P. Coury, Chapter 11 Trustee for Aubrey Bruce Wring and Virginia Ann Wring,

moves the Court, pursuant to the terms of the confirmed Plan of Reorganization, to determine

proper balances owed by the reorganized Debtor to Seterus, Inc., and in support of his Motion,

would show the Court as follows:

                                           FACTS

         1.    Movant, Michael P. Coury, is the duly appointed and acting Chapter 11 Trustee

for Aubrey Bruce Wring and Virginia Ann Wring.

         2.    On December 9, 2016, the Trustee filed his First Amended Plan of

Reorganization.    Federal National Home Mortgage Association (“FNMA”) was listed as a

creditor under Class 8 of the Plan.

         3.    FNMA, by and through Seterus, Inc., filed certain objections to the First

Amended Plan of Reorganization. See D.E. 2082-2093. The Trustee and FNMA resolved their

objection by making modifications to the treatment of FNMA’s Class 8 claims as set forth in the

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Third Amendment to Chapter 11 Trustee’s First Amended Plan of Reorganization [D.E. #2174]

filed on April 21, 2017.

         4.       On May 2, 2017, the Court entered its Order Confirming Chapter 11 Trustee’s

Plan [D.E. #2180].

         5.       Pursuant to the terms of the Third Amendment to the Plan, FNMA was listed as a

creditor holding a first priority deed of trust on the following parcels of real property 1:

          Claim No.        Proof of Claim                                Property Address
                           Amount 2
          48               $102,097.96            3999 Autumn Springs, Memphis, TN x
          84               $99,948.84             4014 Autumn Springs, Memphis, TN x
          45               $110,977.69            5295 Cherokee Rose, Memphis, TN x
          54               $93,701.09             6315 Farm Hill, Memphis, TN x
          49               $95,484.90             5371 Farm Ridge, Memphis, TN x
          47               $94,948.93             6320 Hayfield Lane, W., Memphis, TN x
          56               $92,094.75             6329 Hayfield Lane, Memphis, TN x
          55               $93,701.09             6335 Hayfield Lane, Memphis, TN x
          52               $110,659.58            5987 Hickory Grove, Memphis, TN x
          8                $60,913.82             3027 Ridgeway, Memphis, TN x
          38               $61,167.23             3322 Ridgeway, Memphis, TN x
          53               $51,141.10             6738 Valley Bend, Memphis, TN x
          57               $46,510.26             1599 Wilson, Memphis, TN x
          50               $99,769.98             7800 Redfearn Cir. South, Memphis, TN 38133 x


         6.       The effective date of the Plan was June 2, 2017. Pursuant to the terms of the Plan,

FNMA was required to submit to the Chapter 11 Trustee an itemized statement of the

outstanding loan balances, including any late charges, legal fees, arrearages or other charges

asserted by FNMA. The loan balances shown on the itemized statement were to be deemed to be

1
 The First Amended Plan erroneously listed the property located at 5831 Jardin Place as being a Class 8 property.
Pursuant to the Third Amendment to the First Amended Plan, that property was moved to new Class 8A.
2
 The listed values represented the loan balances as of the date of the petition on February 19, 2010 and not the
current balances as of the Effective Date of the Plan.

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the outstanding loan balances owed to FNMA for purposes of the Plan, unless disputed by the

Chapter 11 Trustee.

       7.      FNMA failed to provide itemized statements of the outstanding loan balances

prior to the effective date of the Plan. Pursuant to the terms of the Plan, the Trustee filed three

motions seeking to extend the time within which various unresponsive creditors, including

FNMA, could submit their itemized statements. The last extension of time expired on October

20, 2017. As of that date, no itemized statement has been provided by FNMA.

       8.      Pursuant to the terms of the confirmed plan, the Chapter 11 Trustee determined

the outstanding balances on the Class 8 properties as of July 1, 2017 to be as follows based on

the most recent information provided by FNMA as of the Effective Date:

                            Property Address                                      Balance
3999 Autumn Springs                                                              $86,499.08
6320 Hayfield Lane West                                                          $80,682.33
6329 Hayfield Lane West                                                          $76,510.17
5987 Hickory Grove Lane                                                          $93,773.55
3322 Ridgeway Road                                                               $48,682.01
6738 Valley Bend                                                                 $25,084.56
7800 Redfearn Circle                                                             $79,669.80
4014 Autumn Springs                                                              $83,591.99
5295 Cherokee Rose Lane                                                          $93,259.25
6315 Farm Hill Drive                                                             $78,598.96
5371 Farm Ridge Drive                                                            $80,809.91
6335 Hayfield Lane                                                               $78,377.47
3027 Ridgeway Road                                                               $48,832.53
1599 Wilson Road                                                                 $38,984.11

Pursuant to the terms of the Plan, the Chapter 11 Trustee re-amortized the mortgage balances on

the terms set forth in the Plan and has been making the modified mortgage payments

commencing with the July 1, 2017 payment.

       8.      In January 2018, new counsel for FNMA, as serviced by Seterus, Inc., filed a

notice of appearance in this case.


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       9.      In spite of the expiration of time for FNMA to submit an itemized statement,

counsel for the Trustee sought to verify the account balances asserted by FNMA notwithstanding

the expiration of time to provide such statements under the terms of the Plan.

       10.     On January 26, 2018, the Chapter 11 Trustee was provided by email with payoff

quotes for seven of the FNMA loans covered under Class 8. Payoff quotes were provided for the

following properties:

               6738 Valley Bend Drive
               Memphis, TN 38141

               3999 Autumn Springs Cove
               Memphis, TN 38125

               6329 Hayfield Lane West
               Memphis, TN 38141

               5987 Hickory Grove Lane
               Memphis, TN 38134

               7800 Redfearn Circle South
               Memphis, TN 38133

               3322 Ridgeway Road
               Memphis, TN 38115

               6320 Hayfield Lane West
               Memphis, TN 38141

       11.     Approximately two days after receiving the above mentioned payoffs, the

Trustee’s management company, Affordable Management, LLC, received from Seterus/FNMA,

IRS Forms 1098 for calendar year 2017 on all of the properties in Class 8. The Trustee has

reviewed the principal balance of the outstanding balances asserted by FNMA/ Seterus in its

payoff statements and its 2017 Form 1098 statements. The 2017 Form 1098 loan balances are

inconsistent with the prior year end mortgage balances after adjusting for payments made

pursuant to original contract terms for the first six months of 2017.

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       12.     Attached as Exhibit 1 to this Motion is a spreadsheet showing the loan principal

balances as of July 1, 2017 as reflected by the Chapter 11 Trustee’s records based on the

principal loan balances of the respective loans as of December 31, 2016, as adjusted for

mortgage payments made for the first six months of 2017 prior to the Effective Date of the Plan.

Based on the Trustee’s analysis, it appears to the Chapter 11 Trustee that Seterus has added an

aggregate amount of $114,522.90 to the principal mortgage balances on those properties for

which payoff statements have been provided. It further appears that Seterus has added an

additional principal amount of $81,619.70 to the mortgage balances on the remaining properties.

       13.     The Trustee disputes the balances asserted by FNMA/Seterus and asserts that the

true principal balances are as set forth below:

        Claim No.      12/31/17 Balance                     Property Address

        48             $86,225.12         3999 Autumn Springs, Memphis, TN
        84             $80,134.86         4014 Autumn Springs, Memphis, TN
        45             $92,887.63         5295 Cherokee Rose, Memphis, TN
        54             $74,836.51         6315 Farm Hill, Memphis, TN
        49             $77,125.16         5371 Farm Ridge, Memphis, TN
        47             $79,980.01         6320 Hayfield Lane, W., Memphis, TN
        56             $75,257.40         6329 Hayfield Lane, Memphis, TN
        55             $75,644.14         6335 Hayfield Lane, Memphis, TN
        52             $93,520.79         5987 Hickory Grove, Memphis, TN
        8              $48,403.03         3027 Ridgeway, Memphis, TN
        38             $48,264.41         3322 Ridgeway, Memphis, TN
        53             $25,087.48         6738 Valley Bend, Memphis, TN
        57             $36,810.09         1599 Wilson, Memphis, TN
        50             $78,479.06         7800 Redfearn Circle South, Memphis, TN 38133


       14.     The Trustee moves the Court to determine that the principal balance owed is as

asserted by the Trustee as of the Effective Date.


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         WHEREFORE, the Chapter 11 Trustee prays that the Court make a determination of the

outstanding balances owed by the estate pursuant to the terms of Plan and grant the Chapter 11

Trustee such other relief to which he may be entitled.

                                                       GLANKLER BROWN, PLLC


                                                       By:_/s/ Michael P. Coury_____
                                                       Michael P. Coury, #7002
                                                       6000 Poplar Avenue, Suite 400
                                                       Memphis, TN 38119
                                                       (901) 525-1322
                                                       Attorneys for Michael P. Coury, Chapter 11
                                                       Trustee


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing was sent to
the following via the Court’s ECF electronic service system and/or first class U.S. mail, postage
prepaid, this 23rd day of February 2018:

                  Jeremiah McGuire
                  Ryan Knop
                  Brock & Scott, PLLC
                  5050 Poplar Avenue, Suite 1608
                  Memphis, TN 38157



                                                       /s/ Michael P. Coury_________



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